Case 1:99-cV-01268-.]DB-tmp Document 90 Filed 07/08/05 Page 1 of 3 Page|D 94

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WESTERN DISTRICT 0F TENNESSE&E.;U[ s 8 inv
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AL CURTIS, JUI)GMENT IN A CmL ”d`KS'iL*
Plaintiff,
V.
CORRECTIONS CoRPoRATIoN CASE No: 1=99-1268-13

OF AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed With prejudice.

  
    

  

 

J. ANIEL BR¥;EN \
TED sTATEs DISTRICT COURT

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(By) Deputy CIerk

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US DISTRICT COURT

